
Oriental Health Acupuncture, P.C., as Assignee of Carrington, Earnel, Appellant,
againstState Farm Mutual Automobile Ins. Co., Respondent. 




The Rybak Firm, PLLC (Damin J. Toell of counsel), for appellant.
Picciano &amp; Scahill, P.C. (David J. Tetlak of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Joy F. Campanelli, J.), entered March 1, 2017. The order granted defendant's motion for summary judgment dismissing the complaint and denied plaintiff's cross motion for summary judgment.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that the amounts plaintiff sought to recover were in excess of the workers' compensation fee schedule and denied plaintiff's cross motion for summary judgment.
For the reasons stated in BQE Acupuncture, P.C., as Assignee of Carrington, Earnel v State Farm Mut. Auto. Ins. Co. (___ Misc 3d ___, 2019 NY Slip Op _____ [appeal No. 2017-905 K C], decided herewith), the order is affirmed.
PESCE, P.J., WESTON and ALIOTTA, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: August 02, 2019










